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            EXHIBIT 9
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                  3
                                             RECORDED INTERVIEW BETWEEN
                  4
                                            SPECIAL AGENT FBI 21A
                  5
                                           SPECIAL AGENT      FBI 11
                  6
                                                     WALTINE NAUTA
                  7
                                                    and
                  8

                  9
                              File: Nauta, Walt (FBI Interview Recording_l) 2022-05-26
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                                   Nauta, Walt (FBI Interview Rec o rding_2) 2022-05-26
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                                                 Date:     May 26, 2022
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                                                                                    30

                  1     (00:24:50)

                  2                  SA FBI 21A :   -- office space?

                  3                  MR. NAUTA:     You mean his office space?        Yeah.

                  4                  SA FBI 21A :   Okay.    Have you seen boxes stored

                  5     there?

                  6                  MR. NAUTA:     I've seen boxes stored there.

                  7                  SA FBI 21A :   Of, of -- how about any boxes that

                  8     resembled what it is that, that you brought to --

                  9                  MR. NAUTA:     No.

                 10                  SA FBI 21A :   Okay.    How about U.S. working

                 11     documents, whether they were in a box or outside?

                 12                  MR. NAUTA:     No.

                 13                  SA FBI 21A :   Okay.    Have you seen anything with

                 14     classification markings?

                 15                  MR. NAUTA:     No.

                 16                  SA FBI 21A :   Nothing like that, okay.        Is there any

                 17     other place that the President could have kept boxes? Is

                 18                  MR. NAUTA:     Not, not to my knowledge.

                 19                  SA FBI 21A :   Not to your knowledge.

                 20                  MR. NAUTA:     No.

                 21                  SA FBI 21A :   Okay.    All right.      Let's see.   Are

                 22     there storage rooms -- or who maintains -- who's in control

                 23     of the property there?        'Cause my understanding that

                 24     there's, there's your staff, then there's Mar-a-Lago staff

                 25     and it's different?

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                                                                                    31

                  1     (00:25:48)

                  2                  MR. NAUTA:     That's the big question.             We don't

                  3     know who runs the storage units there.

                  4                  SA FBI 21A :   Okay.

                  5                  MR. NAUTA:     That's the inside of the property.

                  6     There's multiple people. There's, there's Per. 19                 ,    Per. 19

                  7           .

                  8                  SA FBI 21A :   Mm-hm.

                  9                  MR. NAUTA:     Per. 66           , and Per. 4                 --

                 10                  SA FBI 21A :   Okay.

                 11                  MR. NAUTA:     -- from my understanding, and it's

                 12     between the three of them.

                 13                  SA FBI 11      I:      Per. 19          ,    Per. 66 --

                 14                  MR. NAUTA:     Per. 66

                 15                  SA FBI 11      I:   Okay.

                 16                  MR. NAUTA:     And Per. 4

                 17                  SA FBI 11       :    Per. 4                 Okay.

                 18                  MR. NAUTA:     Yeah.      Those guys are -- would

                 19     probably have a better answer of what storage units are on

                 20     property.

                 21                  SA FBI 21A :   Okay.      And since you mentioned storage

                 22     units, so there are storage units on, on property?

                 23                  MR. NAUTA:     Yeah.      I mean, there's (indiscernible

                 24     00:26:28) rooms, you know.

                 25                  SA FBI 21A :   Okay.      But as far as you know, no --

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                  1     (00:26:32)

                  2                  SA FBI 21A :   -- rooms have held or did hold, like,

                  3     boxes similar to what you brought, brought onto the truck.

                  4                  MR. NAUTA:     As far as I know, no.

                  5                  SA FBI 21A :   All right.      So, so to the best of your

                  6     knowledge, you're saying that those boxes that you brought

                  7     onto the truck, first time you ever laid eyes on them was

                  8     just the day of when Per. 34        needed you to

                  9                  MR. NAUTA:     Correct.

                 10                  SA FBI 21A :   -- to take them.        Okay.    All right.

                 11     And you have -- let's see.           I might go on.       Let me, let me

                 12     just double check my notes here.

                 13                  Since you're -- we've heard there's a downtown

                 14     office.    What is -- the downtown, like here in West Palm, or

                 15     is it -- when they say downtown, do they mean something like

                 16     Miami?

                 17                  MR. NAUTA:     No.     They mean down here in West Palm.

                 18                  SA FBI 21A :   Okay.     Do you know the address?       I

                 19     just -- I have no idea how to find this place.

                 20                  MR. NAUTA:     I -- the only thing I know about there

                 21     is       I've been there twice I think.

                 22                  SA FBI 21A :   Okay.

                 23                  MR. NAUTA:     --and North Flagler.          I couldn't tell

                 24     you the exact address. If I drove there I probably could

                 25     find it.

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                                                                                                         34

                  1     (00:28:12)

                  2                  MR. NAUTA:     It's -- I mean, there's no reason for

                  3     me to be there.

                  4                  SA FBI 21A :   Okay.       So if we wanted to know if --

                  5     since you said there's a little bit of this unknown of who

                  6     controls what storage areas and stuff like that.                         If we

                  7     wanted to find out, hey, are there -- like, were these boxes

                  8     stored somewhere, like who would be the person to, to ask

                  9     about?

                 10                  MR. NAUTA:     I wouldn't know.

                 11                  SA FBI 21A :   Okay.       Do you think -- like, Per. 34 ?

                 12     Do you think Per. 34 would know?

                 13                  MR. NAUTA:     Maybe.       I'm not sure.

                 14                  SA FBI 21A :   Okay.

                 15                  MR. NAUTA:     Yeah.

                 16                  SA FBI 21A :   Did P. 34 say anything about where the

                 17     boxes came from?

                 18                  MR. NAUTA:     No.

                 19                  SA FBI 21A :   All right.         Per. 19      and Per. 4     , and --

                 20                  SA FBI 11       I:    Per. 66 .      Per. 66          .

                 21                  SA FBI 21A :   Per. 66        Do you ever talk to them

                 22     about --

                 23                  MR. NAUTA:     Very minimal.            Per. 19    probably only

                 24     because we're there for dinners when he's having dinner.

                 25                  SA FBI 21A :   Mm-hm.

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                                                                                    47

                  1     (00:37:52)

                  2                  SA FBI 21A :   Okay.

                  3                  MR. NAUTA:     So we don't have full access to the

                  4     property.

                  5                  SA FBI 11      I:   You don't have -- so what does 45

                  6     have access to, the 45 staff?            There's the office space?

                  7                  MR. NAUTA:     That's about all I know as far as,

                  8     well, access.

                  9                  SA FBI 11       :   And then the Pine Hill?

                 10                  MR. NAUTA:     Correct.

                 11                  SA FBI 11       :   Okay.    But that's a real small --

                 12     pretty small footprint --

                 13                  MR. NAUTA:     In terms of access.

                 14                  SA FBI 11       :   Right.     So these boxes had to be

                 15     somewhere.

                 16                  MR. NAUTA:     Right.

                 17                  SA FBI 11      I:   We were talking about a year, so

                 18     can, can you guess where they could have been or where they

                 19     could have come from?

                 20                  MR. NAUTA:     I don't want to guess. I just, I just

                 21     -- my answer is I don't know.

                 22                  SA FBI 11      I:   You don't know, okay.

                 23                  SA FBI 21A :   Well, if, if you're comfortable with

                 24     it I'm okay with a guess knowing that it is simply a guess,

                 25     but, I mean, if you're saying -- if you wanted to say --

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                  1     (00:39:30)

                  2                  MR. NAUTA:     -- know.

                  3                  SA FBI 21A :   But even within Mar-a-Lago, you know,

                  4     like he was saying, we           is there a place where boxes could

                  5     be stored?     Did you

                  6                  MR. NAUTA:     There's many storage units that I

                  7     haven't -- you know, I assume that I haven't even -- that

                  8     could be places that aren't even storage units that I -- you

                  9     know?   There's a lot of doors on Mar-a-Lago.

                 10                  SA FBI 21A :   Okay.    All right.

                 11                  SA FBI 11       :   Okay.    Well, that makes us feel

                 12     comfortable.      Well, let me backtrack a little bit.         So your

                 13     involvement with these records were               was just helping

                 14     Per. 34 on that      the day loading to the driver?

                 15                  MR. NAUTA:     Correct.

                 16                  SA FBI 11      I:   Did you help P. 34 at any other

                 17     point in time with the boxes?

                 18                  MR. NAUTA:     No, not with those boxes.       Not to

                 19     the only boxes -- any other boxes I helped Per .34 out with

                 20     moving was personal items.

                 21                  SA FBI 11       :   Okay.    And, I mean, you're talk

                 22     about moving -- when you guys moved out of the White House

                 23     to Mar-a-Lago, moving those personal items?

                 24                  MR. NAUTA:     Correct.

                 25                  SA FBI 11       :   Okay.    So there was about a --

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                  1     (00:41:48)

                  2                  SA FBI 11      I:        there at Mar-a-Lago.

                  3                  MR. NAUTA:     Yes.

                  4                  SA FBI 11      I:     I didn't know if you helped locate

                  5     any of those items or saw maybe Per. 34 or Per. 64 or anybody --

                  6                  MR. NAUTA:     No.

                  7                  SA FBI 11             -- sort of try to find things?

                  8                  MR. NAUTA:     Not that I -- no.

                  9                  SA FBI 11      I:     Not that -- okay.

                 10                  MR. NAUTA:     Yeah.

                 11                  SA FBI 11       :     And what -- so, so you only saw

                 12     the 15 boxes, 15, 17 boxes --

                 13                  MR. NAUTA:     Mm-hm.

                 14                  SA FBI 11       :        the day of the move?     Even --

                 15     they just showed up that day?

                 16                  MR. NAUTA:     They were in Pine Hall.        Per. 34 just

                 17     asked me, hey, can we move some boxes?

                 18                  SA FBI 11       :     Okay.

                 19                  MR. NAUTA:     And I was like, okay.

                 20                  SA FBI 11       :     So you didn't know -- had no idea

                 21     how they got there before?

                 22                  MR. NAUTA:     No.

                 23                  SA FBI 21A :   About how many Mar-a-Lago staff

                 24     employees are there if you had to guess?              Like, I know it's

                 25     just a guess, but are we talking, like, five?

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